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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
                                                    x
   PRIMITIVO ROBLES, on behalf of                   :
   himself and all others similarly situated,       : Case No.: 1:24-cv-07729
                                                    :
                                  Plaintiff,        :
           vs.                                      :
                                                    : STIPULATION OF VOLUNTARY
                                                    : DISMISSAL
                                                    :
   THE OTHER SIDE DISPENSARY LLC,
                                                    :
                                  Defendant.        :
                                                    :
                                                    :
                                                    x


           IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

   respective counsel that the above-captioned action is voluntarily dismissed, with prejudice against

   defendant The Other Side Dispensary LLC pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i)(i).



   DATED: New York, New York
          May 15, 2025




                                                    /s/ David Stein

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